                                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                               FOR THE NORTHERN DISTRICT OF ALABAMA

 Fill in this information to identify your case:
 Debtor 1               Regina Chance                                                                         Check if this is an amended plan
                              Name: First           Middle                 Last                               Amends plan dated: May 3, 2019
 Debtor 2
 (Spouse, if filing)          Name: First           Middle                 Last


 Case number:
 (If known)




Chapter 13 Plan

 Part 1:      Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules, administrative
                           orders, and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies. Your failure to check a box that applies renders
                           that provision ineffective.

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney, if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                           confirmation at least 7 days before the confirmation hearing, unless otherwise ordered. The Bankruptcy Court may confirm this
                           plan without further notice if no objection to confirmation is made. See Bankruptcy Rule 3015. In addition, a proper proof of
                           claim must be filed in order to be paid under this plan.

                           The following matters may be of particular importance to you. Debtor(s) must check each box that applies. Debtor(s)' failure to
                           check a box that applies renders that provision ineffective.


                              The plan seeks to limit the amount of a secured claim, as set out in Part 3, § 3.2, which may result in a partial payment
                           or no payment at all to the secured creditor.

                              The plan requests the avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest as set out in
                           Part 3, § 3.4.

                               The plan sets out nonstandard provision(s) in Part 9.

 Part 2:      Plan Payments and Length of Plan

2.1           Debtor(s) will make regular payments to the trustee as follows:

              $411 per Bi-Weekly for 60 months

              Debtor(s) shall commence payments within thirty (30) days of the petition date.

2.2           Regular payments to the trustee will be made from future income in the following manner (check all that apply):

                          Debtor(s) will make payments pursuant to a payroll deduction. Debtor(s) request a payroll deduction be issued to:
                          Birmingham VA Medical Center 700 South 19th Street Birmingham, AL 35233
                          Debtor(s) will make payments directly to the trustee.
                          Other (specify method of payment)




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2.3          Income tax refunds and returns. Check one.
                     Debtor(s) will retain any income tax refunds received during the plan term.

                          Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
                          return and will turn over to the trustee income tax refunds received during the plan term, if any.

                          Debtor(s) will treat income tax refunds as follows:


                          Debtor(s) believe they are not required to file income tax returns and do not expect to receive tax refunds during the plan term.

2.4          Additional Payment Check all that apply.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

2.5           Adequate Protection Payments

             Any adequate protection payments shall be made as part of this plan; see Part 3 or Part 9 for details. The secured creditor must file a proof
             of claim in order to receive payment. Unless otherwise ordered, adequate protection payments through the trustee shall be made as funds
             are available after the proof of claim is properly filed.

 Part 3:      Treatment of Secured Claims

3.1          Maintenance of payments and cure of defaults, if any, on long-term secured debts. Check one.

                          None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
                          Debtor(s) or trustee will maintain the current contractual installment payments on the secured claims listed below. These
                          payments will be disbursed either by the trustee or paid directly by Debtor(s), as specified below. Any existing arrearage on a
                          listed claim will be paid in full through disbursements by the trustee. Unless otherwise ordered, the amounts listed on a proof of
                          claim, amended proof of claim, or notice of payment change control over any contrary amounts listed below as to the estimated
                          amount of the creditor’s total claim, current installment payment, and arrearage.
                                                                      Current
                                                 Estimated                                                                                   Monthly Fixed
                                                                    Installment        Amount of            Months         Monthly Fixed
      Name of                                    Amount of                                                                                     Payment on
                              Collateral                              Payment          Arrearage          Included in       Payment on
      Creditor                                   Creditor's                                                                                   Arrearage to
                                                                     (including          (if any)          Arrearage         Arrearage
                                                Total Claim                                                                                       Begin
                                                                       escrow)
 Loancare Inc             5869 Princess          $124,000.00 $1,135.00              $11,000.00         Thru 3/2019        $204.00            9/2019
                          Blvd                                    Disbursed by:
                          Birmingham,                             Debtor
                          AL 35215                                To Begin:
                          Jefferson                               4/2019
                          County

3.2          Request for valuation of security, claim modification, and hearing on valuation. Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.


              The rest of § 3.2 will be effective only if the applicable box in Part 1 of this plan is checked.

                          Debtor(s) request that the court determine the value(s) of the collateral and the amount(s) of the secured claim(s) listed below.
                          For each nongovernmental secured claim listed below, Debtor(s) state that the amount of the secured claim should be the lesser
                          of (a) the amount of the secured claim listed on the creditor's proof of claim and (b) the amount set out in the column headed
                          Amount of Secured Claim. For each listed claim, the amount of the secured claim will be paid in full with interest at the rate
                          stated below. If a nongovernmental creditor timely objects to the proposed value of the creditor's collateral or the proposed
                          amount of the creditor's secured claim, the confirmation hearing shall include a valuation hearing pursuant to 11 U.S.C. § 506
                          and Bankruptcy Rule 3012 unless otherwise ordered. If a nongovernmental creditor whose claim is listed below fails to timely
                          object, the creditor shall be deemed to have accepted the amount and treatment of the creditor's secured claim as set forth below.

                          For nongovernmental creditors, unless otherwise provided by this plan or otherwise ordered, the portion of any allowed claim
                          that exceeds the amount of the secured claim listed below will be treated as an unsecured claim under Part 5 of this plan, and, if
                          the amount of a creditor's secured claim is listed below as having a value of zero, the creditor's allowed claim will be treated in
                          its entirety as an unsecured claim under Part 5 of this plan. For nongovernmental creditors, unless otherwise ordered, the amount

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                          of the creditor's total claim listed on the proof of claim or amended proof of claim controls over any contrary amounts listed
                          below, but the amount of that creditor's secured claim, the value of the collateral, and the interest rate are controlled by the plan.

                          The holder of any claim listed below as having value in the column headed Amount of Secured Claim will retain the lien until the
                          earlier of:

                                   (a) payment of the underlying debt determined under nonbankruptcy law, or

                                   (b) discharge under 11 U.S.C. § 1328(a), at which time the lien will terminate and be released by the creditor.

                          For secured claims of governmental units, unless otherwise ordered, the value of a secured claim listed in a proof of claim filed
                          in accordance with the Bankruptcy Rules controls over any contrary amount listed below.

                         Monthly                Estimated                                                                      Monthly                Monthly
                                                                                                    Amount of
      Name of            Adequate              Amount of                           Value of                                     Fixed                  Fixed
                                                                      Collateral                     Secured   Interest Rate
      Creditor          Protection              Creditor's                         Collateral                                 Payment to            Payment to
                                                                                                      Claim
                         Payment               Total Claim                                                                     Creditor                Begin
 Republic              $0.00                  $4511.00               Household       $1000.00         $1000.00 6.50%         $22.00                9/2019
 Finance                                                             Goods



3.3          Secured claims excluded from 11 U.S.C. § 506 and fully secured claims. Check one.

                          None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
                          The claims listed below:
                                1. were incurred within 910 days before the petition date and secured by a purchase money security interest in a motor
                                   vehicle acquired for the personal use of Debtor(s), or
                                2. were incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of
                                   value, or
                                3. are fully secured.
                          These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
                          trustee as specified below. Unless otherwise ordered, the status and amount stated on a proof of claim or amended proof of claim
                          controls over any contrary amount listed below as to the estimated amount of the creditor's total claim, but the interest rate is
                          controlled by the plan.

                          The holder of any claim listed below will retain the lien until the earlier of:

                                 (a) payment of the underlying debt determined under nonbankruptcy law, or

                                 (b) discharge under 11 U.S.C. § 1328(a), at which time the lien will terminate and be released by the creditor.

                      Monthly                                 Estimated
                                                                                                                         Monthly Fixed          Monthly Fixed
                      Adequate                                Amount of                         Value of     Interest
 Name of Creditor                                                            Collateral                                   Payment to             Payment to
                     Protection                            Creditor's Total                     Collateral     Rate
                                                                                                                           Creditor                Begin
                      Payment                                   Claim
 USAA Federal     $67.00                                   $6,665.00        2012            $6,000.00        6.50%      $143.00              9/2019
 Savings Bank                                                               Hyundai
                                                                            Elantra

3.4          Section 522(f) judicial lien and nonpossessory, nonpurchase-money ("Non-PPM") security interest avoidance. Check all that apply.

                          None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral. Check one.

                          None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

 Part 4:      Treatment of Fees and Priority Claims

4.1          General

Trustee’s fees will be paid in full. Except as set forth in § 4.5, allowed priority claims also will be paid in full, without interest.

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4.2          Chapter 13 case filing fee. Check one.

                  Debtor(s) intend to pay the Chapter 13 case filing fee through the plan.
                  Debtor(s) intend to pay the Chapter 13 case filing fee directly to the Clerk of Court.

4.3          Attorney's fees.

             The total fee requested by Debtor(s)’ attorney is $3,500.00. The amount of the attorney fee paid prepetition is $800.00.
             The balance of the fee owed to Debtor(s)’ attorney is $2,700.00, payable as follows (check one):

                  $800 at confirmation and $300 per month for three months and then $200 per month thereafter until paid in full, or
                  in accordance with any applicable administrative order regarding fees entered in the division where the case is pending.

4.4          Priority claims other than attorney’s fees and domestic support obligations. Check one.

                          None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5          Domestic support obligations. Check one.

                          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5:      Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata.

5.2          Percentage, Base, or Pot Plan. Check one.

                          100% Repayment Plan. This plan proposes to pay 100% of each allowed nonpriority unsecured claim.
                          Percentage Plan. This plan proposes to pay          % of each allowed nonpriority unsecured claim.
                          Pot Plan. This plan proposes to pay $       , distributed pro rata to holders of allowed nonpriority unsecured claims.
                          Base Plan. This plan proposes to pay $         to the trustee (plus any tax refunds, lawsuit proceeds, or additional payments
                          pursuant to §§ 2.3 and 2.4). Holders of allowed nonpriority unsecured claims will receive the funds remaining, if any, after
                          disbursements have been made to all other creditors provided for in this plan

5.3          Interest on allowed nonpriority unsecured claims not separately classified. Check one.
                       None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

5.4          Maintenance of payments and cure of any default on long-term nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

5.5          Other separately classified nonpriority unsecured claims. Check one.

                          None. If “None” is checked, the rest of § 5.5 need not be completed or reproduced.

 Part 6:      Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed, will be treated as specified, and any defaults cured.
             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

6.2          The executory contracts and unexpired leases listed below are rejected: Check one.

                          None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.




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 Part 7:      Sequence of Payments

7.1          Unless otherwise ordered, the trustee will make the monthly payments required in Parts 3 through 6 in the sequence of payments
             set forth in the administrative order for the division in which this case is pending.

 Part 8:      Vesting of Property of the Estate

8.1          Property of the estate will vest in Debtor(s) (check one):

              Upon plan confirmation.

              Upon entry of Discharge

 Part 9:      Nonstandard Plan Provisions

                          None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

 Part 10: Signatures:

Signature(s) of Debtor(s) required.

Signature(s) of Debtor(s) (required):


 X     /s/ Regina Chance                                                                Date    May 13, 2019
       Regina Chance

 X                                                                                      Date


Signature of Attorney for Debtor(s):
 X /s/ Joe S. Erdberg                                                          Date   May 13, 2019
     Joe S. Erdberg
     Land Title Building
     600 20th Street No, Suite 400
     Birmingham, AL 35203
     205-323-4500

Name/Address/Telephone/Attorney for Debtor(s):

By filing this document, Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) certif(ies) that the wording and order of
the provisions in this Chapter 13 plan are identical to those contained in this district’s Local Form, other than any nonstandard provisions
included in Part 9.




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